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     In the United States Court of Federal Claims
                                Case No. 10-248C
                          (Filed: November 30, 2010)


*****************************************************
PAUL RAFFAELE,                                      *
                    Plaintiff,                      *
                                                    *
       v.                                           *
                                                    *
THE UNITED STATES OF AMERICA,                       *
                    Defendant.                      *
                                                    *
*****************************************************


                                     ORDER


     The Court held a telephonic Preliminary Status Conference in this
matter on November 30, 2010. The parties agreed that they will complete
discovery by March 30, 2011. The parties shall file a Joint Status
Report on February 28, 2011, updating the Court on the status of
discovery. The parties shall also file a Joint Status Report on April 29,
2011, proposing further action.

      IT IS SO ORDERED.


                                        s/ Lawrence M. Baskir
                                       LAWRENCE M. BASKIR
                                               Judge
